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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND

 DAVID SMITH,                              )
           Plaintiff,                      )
                                           )                   Case No.: 1:22-cv-00024-JJM-PAS
       vs.                                 )
                                           )
 BROWN UNIVERSITY,                         )
             Defendant.                    )
 __________________________________________)


                         REPLY IN SUPPORT OF
  PLAINTIFF DAVID SMITH’S EMERGENCY MOTION FOR INJUNCTIVE RELIEF

        In his opening memorandum, David Smith alleged that Brown violated its contractual

 obligations by (1) ignoring David’s contractual right to a presumption of innocence and (2) failing

 to conduct a reasonable threat assessment. David pointed out that Brown may only impose

 suspension as an “interim measure” if it concludes “there is reasonable cause to believe that the

 Prohibited Conduct is likely to continue and/or the Respondent poses a significant threat of harm

 to the health, safety, and welfare of others or the University community.” Pl’s Mem. 10–11. And

 in arguing that Brown had no reasonable cause to believe he was a threat, David alleged specific

 facts showing that the evidence he submitted to Brown established he was not. That evidence

 included photographs of the complaining student showing that she had no sign of the injuries she

 alleged (which she subsequently deleted), and his testimony that she had twice sought him out on

 the very day that she filed her complaint and again two days thereafter.

        Brown declined to address any of these facts in its opposition. As a result, Brown’s

 response fails to address the most fundamental question in this case—whether it had “reasonable

 cause to believe” David was a threat and that a suspension was the only way to mitigate that threat.

 Instead of explaining the factors it relied upon to reach its decision, Brown asserts, almost by fiat,
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 that it has a process that includes certain steps, and that it can make any decision it chooses at the

 conclusion of those steps, even if the steps have no substance. Moreover, Brown devotes most of

 its response to detailing procedural steps it fulfilled. There is no dispute that Brown held a lot of

 meetings and phone calls. But Brown’s policy promises more than that. Brown affords accused

 students with a presumption of innocence (both in its Non-Title IX Policy and Student Rights and

 Responsibilities1), which Brown conveniently leaves out of its entire response. Brown could have

 implemented a policy stating that presumption would be automatically displaced, and that it could

 remove any student from campus, upon the mere allegation of violence by another student. It did

 not. Instead, Brown promised to presume innocence and to assess whether removing a student is

 reasonable under the facts and circumstances known to it. By declining to provide the reasons for

 its decision (as opposed to the process used to reach it), Brown all but concedes its decision was

 arbitrary and capricious—a decision without reason is arbitrary by definition. Brown’s actions lack

 any discernable legal basis.

        Moreover, the process Brown described is riddled with errors and mistakes; errors that

 David attempted to correct but that went ignored by Brown. Finally, Brown did not follow its

 process after the second appeal—it did not update the threat assessment rubric using its most

 current information; it instead relied solely on the complaint and its dated inaccurate information

 which, in and of itself, caused the process to fail. The result of this was necessarily a biased,

 arbitrary, and capricious decision in that Brown remained wedded to an old threat assessment that

 was never factually accurate.




 1
     See                                                           https://www.brown.edu/offices/student-
 conduct/code/rights#:~:text=Students%20and%20student%20groups%20are,the%20appropriate%20stude
 nt%20conduct%20proceeding (students afforded right “[t]o not be presumed responsible of any alleged
 violations unless so found through the appropriate student conduct proceeding”).


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          This Court should reject Brown’s argument that David will not be irreparably harmed by

 Brown’s decision to suspend him before it has determined whether he is responsible for any

 misconduct. Brown claims it can cite more cases holding a gap in education is not irreparable

 harm, and it faults David for not listing every decision finding otherwise. Accordingly, below

 David has supplied additional cases finding irreparable harm under similar circumstances,

 including a later decision by the same District Court that Brown primarily relies on in the District

 of Connecticut. But the obviousness of the harm here should not depend on weighing the number

 of cases decided one way or another—the facts at issue in college disciplinary matters are

 invariably unique. It is entirely disingenuous for Brown to argue that the only harm a gap in

 education creates is a delayed entry to the workforce, measurable by lost salary. Many courts

 recognize that the gap will inevitably require a future explanation when applying to graduate

 school or employment. If David must truthfully disclose that the gap in his transcript was the result

 of an interim suspension following a sexual assault allegation, it is patently obvious that such a

 disclosure would cause untold and immeasurable harm in the form of lost opportunities and

 reputational damage.2 David’s irreparable harm comes in numerous forms including severe and

 permanent damage to his otherwise impeccable reputation, loss of summer employment, and loss

 of athletics. If suspended, this damage will be complete and universal to him.

     I.   FACTUAL BACKGROUND

          Brown spends a full twelve pages, the near entirety of its factual background section,

 providing a walkthrough of definitions and processes from its policies—anodyne facts that are not



 2
     Brown spends inordinate portion of its brief arguing against relief David’s motion explicitly did not
 request—arguing that it is correctly using its Non-Title IX Policy (Sexual and Gender-Based Misconduct
 Policy) to adjudicate David’s disciplinary matter. While David disagrees with Brown’s position, and it is
 clear Brown continues to deny that they clearly exercised control over both the parties involved and the
 “context” in which the allegations occurred, he does agree that this fight is for another day.


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 in dispute. The laborious approach highlights the fact that all Brown has done for David is subject

 him to a rote “check-the-box” exercise. It walked through the motions required in its processes

 and procedures, without a reasoned evaluation of the evidence presented, which Brown would

 have the Court believe is enough to satisfy its contractual obligations. But that is not the case.

        When it comes to the Threat Assessment Team’s actual evaluation of the evidence

 presented, Brown is noticeably brief. Opp. 9, 11. Brown provides no explanation of the Threat

 Assessment Team’s evaluative decision, other than highlighting that the team reviewed only the

 allegations from Jane’s complaint itself. Opp. 9. Brown does not explain what other information

 the team considered, what weight it gave that information, or how or why it concluded that David’s

 proffered evidence did not alter its view of the complaint. Nor could Brown provide such

 explanation, because the Threat Assessment Team’s notes—provided to David for the first time

 here, under seal—confirm that the only evidence the team considered was the complaint itself.

        The notes from the Threat Assessment Team’s initial meeting, on November 16, 2021,

 stated that a “No Contact Order” would be sufficient to protect “the reporting student.” (ECF 15-

 1 at 4.). However, the notes then leap to the conclusion that an “interim suspension” was an

 additional “appropriate intervention for this incident since an allegation of violent sexual assault

 is indicative of a significant threat of harm to the health, safety, and welfare of others or the

 University community.” Id. at 5 (emphasis added). These notes concede the fact that Brown’s

 decision to suspend David was based on Jane’s allegations alone, and that it was not to protect her

 (which the No Contact Order sufficiently did) but to protect others.

        The Threat Assessment Team’s notes, and the rubric the team completed, confirm the

 arbitrary and capricious nature of Brown’s decision to suspend David for the protection of the

 campus community. Of the fourteen yes-or-no questions, only two were answered “Y”: (1) “Did




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 the alleged acts or behaviors include force or violence, or was there a credible threat of force or

 violence?”; and (2) “If there is a harmed party, was that party alleged to be under the influence of

 excessive alcohol or other drugs?” (ECF 15-1 at 2–3.) Both “Y” conclusions were flawed, as seen

 on the face of the notes themselves. The acts that Jane alleged in her complaint were wholly

 unbelievable and incredible on their face—a notation should have been made as to their

 unbelievable nature or that they required additional corroboration. Plaintiff has attached pictures

 under seal that she posted from Halloween weekend that demonstrably refute the claims of

 physical injury accepted in the rubric. Also, Jane was not under the influence of “excessive

 alcohol,” as she herself claimed that she was “drunk but aware of [her] surroundings.” Pl’s Mem.

 4. Critically, the team did not even complete a required follow-up question regarding the

 complainant’s intoxication: “If so, was it voluntary or involuntary?” (ECF 15-1 at 3.) The Threat

 Assessment Team had already predetermined David’s fate, so it deemed completing that required

 question unnecessary.

         The Threat Assessment Team also omitted critical information by simply marking that it

 was unknown (“U”) whether Jane “receive[d] medical attention” for her alleged injuries. Id. Given

 that the entire basis of Brown’s decision is an (unproven) assumption that violence occurred, it

 was incumbent upon Brown to follow up on such a critical issue, especially given the effect of its

 determination regarding violence (i.e., suspending David because he was a “threat” to the

 community). The fact is, Jane did not seek or need medical attention—which wholly contradicts

 her allegations of severe physical harm.3




 3
     While it is not in the record before this Court, Plaintiff and his counsel can represent that subsequent
 evidence has come to light showing that Jane went out to one of the most popular and crowded late-night
 restaurants on Thayer Street with her friends immediately after leaving the party—hardly suggesting that
 she was someone who was seriously injured.


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        The Threat Assessment Team further erred in citing information that “reported [that Jane

 and David] see each other frequently.” Id. at 4. The team had the means to check the veracity of

 that information—Jane’s complaint itself, in which she claimed to have met David for the first

 time—but chose to overlook any information that would not support its decision. Brown also

 ignored a report from its own Brown University Police, which David provided to Brown, which

 clearly showed that David was not under the influence of excessive alcohol. Pl’s Mem. 20. Despite

 a police report noting David as “cooperative and understanding,” they somehow chose to mark

 “U” for unknown as to whether he was intoxicated. (ECF 15-1 at 3.)

        Notably, the Threat Assessment Team’s notes reveal that the great weight of the

 considerations required by its rubric favored David. Ten questions were marked “N,” including

 the questions directly going whether he was a “threat” to the broader community: “Was any object,

 device, or weapon used during the act, or does the student possess or have access to objects, devise,

 or weapons that could be used for force or violence?”; “Have there been other force or violence

 reports about the same student?”; “Have there been other reports that the same student has

 endangered the safety of others?”; “Does the student have a history of violations or records from

 Brown or prior school indicating past use of force or violence or danger to the safety of others?”;

 “Has the student threatened further force, violence, and/or danger to the safety of the harmed party

 or others?”; and “Has the student caused significant disruption to the educational or residential

 environment or other campus community?” Id. at 2–4. These factors all weighed in David’s favor;

 yet, the team assigned with evaluating whether he was a “threat” provided no explanation as to

 how his entire history of non-violence was overcome by one, unsupported allegation of sexual

 assault that had yet to be proven. In all of the meetings, in all of the calls which they devote almost




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 one third of their response to, they never address the actual issue, i.e., that they could never identify

 anything in their rubric that suggests that David is a threat, other than Jane’s bare allegation itself.

         Brown suggests that David was treated more than fairly because he received a second

 evaluation by the Threat Assessment Team. But the number of times the Team met says nothing

 of whether its analysis was reasonable. And the notes from that subsequent assessment reveal that

 it convened for no purpose other than to rubber stamp the flawed conclusion it initially reached.

 (ECF 15-2.) The notes stated that the team had received David’s response to the complaint and

 “additional information”; yet, the team provided absolutely no explanation for why that

 information did not affect or even factor into the outcome of its decision. The team seems not to

 have wrestled at all with the objective evidence contradicting Jane’s claims. The entirety of

 Brown’s analysis was as follows: “In balancing whether the new information mitigated the

 potential threat, the group generally felt that it did not change the accounting of the potential

 threat.” Id. at 3. Rather than addressing any substance of David’s five-page response and six-pages

 of attached evidence, including photographs, the team just responded that it “generally felt that it

 did not change” their decision.

         It is also notable that the Threat Assessment Team prefaced these second notes by noting

 that it was reviewing “two cases” in which “[b]oth students” appealed their decisions. (ECF 15-2

 at 2.) It is puzzling why the Threat Assessment Team would refer to “two cases” when it was

 tasked with undertaking an individualized assessment of David’s case. Nothing in Brown’s policies

 discusses anything other than an individualized assessment. In lumping the two cases together and

 ignoring the specific evidence from David’s case, the Threat Assessment Team acted arbitrarily

 and capriciously and ignored their policy promising an individualized threat assessment. The notes

 from the second Threat Assessment Team meeting clearly state that the Threat Assessment Team’s




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 initial recommendation was based on the contents of the Formal Complaint, “as appropriate for

 this process” (ECF 15-2 at 2)—but this is not what Brown’s policy states (presumption of

 innocence). They go on to say that “Now they need to assess the level of threat in the context of

 this additional information,” yet they do not update the rubric (they mysteriously claim they

 reevaluated it without any support) but say that they did not feel any of the answers had changed.

 This is simply impossible in the face of the factual evidence provided.

         David also provided five-pages of evidence to Vice President Eric Estes in his second

 appeal dated December 20, 2021. In neither of the two appeals did Vice President Estes ask any

 questions regarding David’s submissions or statements, nor did he, to the visible eye on the Zoom

 call, take a single note, nor record the Zoom call.

         Moreover, it is false to suggest that Brown’s rubric-based consideration included “concerns

 about other reported activities that have occurred at the off-campus locations at issue” (Opp. 9), as

 the only reported issue was a noise complaint from that same evening and some complaints about

 excessive trash—none of which relate to David being a threat. If there are historical issues at the

 house that they are referring to, none relate to David as this is his first year living in that house.

         In trying to impress upon the Court the procedures that it followed, and diverting attention

 from the flawed analysis it engaged in, Brown omits—quite intentionally—any of the evidence it

 considered during those procedures. As is clear now, the only thing from which Brown justified

 its decision that David was a threat to the community was Jane’s complaint—Brown admits that in

 both threat assessments. That is a clear violation of their policy. Yet, unlike other cases in this

 District in which Brown defends sexual misconduct suspensions,4 Brown chose not to provide the



 4
    See Stiles v. Brown University, 1:21-cv-00497-MSM-LDA (D.R.I), ECF No. 24-1 (“Jane Roe’s Formal
 Complaint”) (filed by Brown under seal).



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 Court with a sealed copy of the complaint.5 Their reasons are obvious. The complaint is a one-

 and-one-quarter-page, unsupported narrative that contains implausible descriptions and significant

 inconsistencies. See Pl’s Mem. 5–7. The complaint is unbelievable on its face, and no reasonable

 decision-maker could render a decision based solely thereon. Plaintiff expected Brown to provide

 a copy of the complaint to the Court; however, to correct that omission, Plaintiff is filing a copy

 under seal with this submission.

         Brown’s omissions do not stop there. It also failed to mention—anywhere in its

 submissions—how its Threat Assessment Team evaluated the photographic evidence that it

 possessed after David responded to the complaint. See Pl’s Mem. 7–8. These photographs should

 have been a critical component of the Threat Assessment Team’s evaluation, as the team

 apparently credited (without any support) Jane’s allegation that she “detailed bruises, bleeding

 earrings holes, hair pulled out.” (ECF 15-1 at 3.) Of course, Brown ignores how it evaluated those

 allegations in light of the photographs, what weight it assigned the photographs, or what evidence

 it used to undermine the photographs. The photographs are clear proof demonstrating a lack of

 evidence supporting Brown’s arbitrary and capricious decision.6 Had Brown received an allegation

 of a fight between students resulting in a broken leg, and the respondent produced photographs of

 the complainant dancing the next day, it would not be reasonable—and entirely arbitrary and

 capricious—to maintain a suspension of the respondent based on the allegations alone. That is the

 situation presented here.




 5
      Plaintiff submits a copy of this complaint herewith, under seal, as well as sealed copies of his response
 to the compliant and his December 20, 2021 appeal to Vice President Estes.
 6
     Brown’s complete lack of discussion regarding the photographs highlights their importance. In order
 to demonstrate to the Court the weight of this evidence that Brown possessed, Plaintiff submits herewith
 copies of eight of these photographs, filed under seal.


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         Finally, Brown completely disregards the fact that Jane affirmatively sought out David

  after the incident, on multiple occasions, and even came to his home to threaten him. Pl’s Mem. 9.

  She came to his home the very day she filed her Title IX complaint. She also sought him out two

  days later. It is wholly unbelievable that she would seek him out the day that she filed her complaint

  and do so at his house at a last-minute gathering. That fact is obviously inconvenient in light of

  Brown’s steadfast determination that David is a “threat” to the community. Jane certainly does not

  think so.

         In sum, Brown refuses to follow its own procedures and evaluate all the evidence, in light

  of the presumption of innocence that David is afforded and the high “reasonable cause” standard

  necessary to suspend him. It is Brown’s flawed and fundamentally unsound evaluation of the

  evidence—not the multiple layers of procedure it seeks to hide behind—that demonstrates that its

  suspension of David violates its own policies and was arbitrary and capricious. Its actions show

  that Brown has already predetermined the result and sealed David’s fate with respect to the Threat

  Assessment Team. There is another active case against Brown in this District in which Brown took

  the same “suspend first, ask questions later” approach.7 Clearly, Brown’s patterns are motivated

  by the recent activity on campus and in court against Brown which we have previously cited has

  cropped up in the past six-to-nine months. Even though Brown had no evidence whatsoever to take

  any action against David, Brown ignored numerous less-punitive restorative options available to

  them (curfews, limited access to public spaces on campus, remote learning, etc.) and jumped

  immediately to a death penalty for David. Action by this Court is necessary to restore him as a

  student in good standing with the Brown community before he suffers irreparable harm when the

  semester begins next Wednesday, January 26, 2022.



  7
      See Stiles v. Brown University, 1:21-cv-00497-MSM-LDA (D.R.I).


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   II.   ARGUMENT

         A.      David is Likely to Succeed on the Merits

         David argued that Brown breached its contract with him by violating his contractual

  presumption of innocence, ignored its contractual obligation to craft a remedial and restorative

  “Interim Action” that protected the rights of both students, and abandoned its contractual duty to

  suspend him only if “reasonable cause” to believe he posed a threat existed. Pl’s Mem. 16–17.

  Brown’s opposition declines to respond to these points. It fails to mention the binding presumption

  of innocence at all. Literally nowhere in the document do they address this policy and procedure

  failure. Instead, Brown hopes to reduce the entire analysis to whether it superficially ensured that

  case-processing events occurred as generally scheduled, but little more than that. Again, it was

  Brown’s choice to make this a contractual option for its students that they now choose to ignore

  because of the external pressures they are facing.

         Brown urges that another district court decision, Doe v. Brown University, 210 F.Supp.3d

  310 (D.R.I 2016), provides the solely applicable “framework” for the Court’s decision here, Opp.

  16. This Court is not bound by the methodology applied in another district court decision and,

  moreover, little persuasive value can be assigned to Doe, as the contractual obligations in that case

  and this differ markedly. Doe’s “primary argument” revolved around the definitions of consent in

  different versions of Brown’s Title IX Polices. 210 F. Supp. 3d at 332. The court was not faced

  with the situation, presented here, of contractual obligations that require an analysis of whether

  Brown’s threat assessment of David was supported by “reasonable cause.” To determine whether

  that contractual obligation was breached is necessarily an evaluative inquiry.

         For that reason, Brown’s reliance on Doe for the proposition that district courts may not

  substitute their judgment for the university is misplaced. Instead, Doe v. Johnson & Wales




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  University, which Brown failed to cite, presents a much more analogous situation and guidance

  for the Court. 425 F. Supp. 3d 108 (D.R.I. 2019). That case presented a summary judgment

  decision on a student’s claim that the university’s disciplinary process failed to afford him

  “fairness” as promised by the university’s policies. Id. at 113. Rather than deferring to the

  university’s view that its process was “fair,” the court determined that whether the university had

  met its contractual “fairness” obligation was a matter for the jury. Id. (“‘Fair’ is not a term with a

  commonly accepted definition. It is conclusory: its precise meaning fluctuates with the context in

  which it is used. Its meaning, particularly with respect to what components of an investigation and

  hearing process must be included in order to satisfy ‘fair,’ is thus open to interpretation. While the

  Court determines as a matter of law whether a contract term has a clear and unambiguous meaning,

  it is up to the fact-finder to determine that meaning once the Court finds that the term is susceptible

  of more than one interpretation.”) (internal citation omitted). The same can be said here with

  respect to Brown’s contractual obligation to provide a “reasonable” threat assessment, balanced

  against David’s right to be presumed innocent.

         At this early stage in the proceedings, the Court is the fact finder. In deciding whether

  David is entitled to a preliminary injunction, it is appropriate for the Court to evaluate and

  determine whether Brown satisfied its contractual obligations, including by imposing a suspension

  decision on him supported by “reasonable cause.” Brown promised David a reasonable threat

  assessment. It claims that it met that requirement simply by going through the motions of holding

  meetings and reaching a decision. But it dodges the issue of whether that decision was reasonable,

  entirely failing to provide any basis from which to conclude its decision was reasonable. In fact,

  by failing to respond to David’s facts, it has given this Court no reason to conclude that its decision

  was anything but arbitrary and capricious.




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         Sensing that it has no ground to stand upon, Brown argues that if the Court determines its

  decision was arbitrary, the most the Court can do is “remand” the matter “back to Brown.” Opp.

  19. Brown has given the Court no reason to believe that it would fulfill the obligations it owes

  David—the fact that Brown breached, on three occasions, its obligation to engage in a “reasonable”

  evaluation of the evidence demonstrates that any further attempt to get it right would be illusory

  and futile. Brown, having now fully demonstrated its intent to rely solely on an unsupported

  allegation of violence (as demonstrated in both threat assessments), should not be afforded any

  opportunity to “redo” and simply reverse engineer the decision it so unreasonably has clung to

  through three opportunities for threat assessments and two appeals.

         Exactly like a Rule 50 motion at the end of a jury trial, this court has before it the complete

  set of facts that Brown had before it when it performed its threat assessment and rendered its

  decision. The Court can determine from those facts whether it would be “reasonable” to conclude

  that David was a threat to the Brown community. Plainly it is not, so this Court can issue a

  preliminary injunction accordingly. If any remand is to occur (which it should not), the Court

  should carefully tailor it to require Brown to do what it has failed to do so far. That is, Brown

  should be directed to explain, in a written record: why and how it finds Jane’s complaint to be

  credible, despite its numerous and obvious inconsistencies and flaws; why and how it believes

  Jane’s complaint alone to be sufficient evidence of David’s “threat” to the community; why and

  how the allegations in the complaint overcome his presumption of innocence; why and how Jane’s

  alleged injuries that do not appear in the photographs from up to 48 hours immediately following

  the incident (which photos Jane immediately removed from her social media sites, following

  David’s response) presented are a legitimate basis to conclude that a violent act occurred; why and

  how David poses a threat to Jane when she twice sought him out after the fact one of which was




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  in his own residence where she alleges the conduct occurred; and why and how no other measures

  short of a suspension are enough to mitigate the threat. If the Court does not believe that Brown

  can answer those questions in a satisfactory manner that would justify a suspension, then it should

  not further penalize David for the time lost during this capricious process but rather should enforce

  the only outcome that a reasonable threat assessment should yield—no suspension pending the

  outcome of the formal complaint process.

         B.      David Smith Faces Irreparable Harm Without a Preliminary Injunction

         Brown takes issue with the number of cases that David initially cited on the issue of

  irreparable harm, and it posits that it has the upper hand because a “majority” of cases side with it.

  Opp. 23. Preliminary injunctions are not decided by which side musters more case citations.

  Citations do not dictate outcomes—facts do. The fact of the matter stands that many federal courts

  have found irreparable harm in cases of students forced to leave school due to sexual assault

  accusations:


                Doe v. Univ. of Cincinnati, 872 F.3d 393, 407 (6th Cir. 2017) (irreparable harm
                 factor weighed in favor of injunction where plaintiff “would be suspended for a
                 year and suffer reputational harm both on and off campus based on a finding
                 rendered after an unfair hearing”).

                Doe v. Univ. of Connecticut, No. 3:20CV92 (MPS), 2020 WL 406356, at *2 (D.
                 Conn. Jan. 23, 2020) (plaintiff faced irreparable harm because suspension would
                 “forever change the trajectory of his education and career,” where plaintiff, who
                 had “a 3.5 GPA and an umblemished record,” “would need to explain a gap on his
                 résumé in future applications to schools or jobs” and “would also need to explain
                 the suspension notation on his UCONN transcript, and a truthful explanation would
                 seriously hinder his prospects”) (internal quotation marks omitted).

                Doe v. Rhodes Coll., No. 2:19-cv-02336 (W.D. Tenn. June 14, 2019), ECF No. 33
                 (“Plaintiff asserts that the disciplinary action taken against him has already
                 damaged his reputation and may affect his ability to enroll at other institutions of
                 higher education and to pursue a career. The Court agrees. These are irreparable
                 harms that favor this Court granting the injunctive relief sought.”)




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            Doe v. Rector & Visitors of Univ. of Virginia, No. 3:19CV00038, 2019 WL
             2718496, at *6 (W.D. Va. June 28, 2019) (plaintiff faced irreparable harm because
             he faced expulsion, “a penalty that could drastically curtail future educational and
             employment opportunities,” and he had a job offer “contingent on receiving [his]
             degree and providing a copy of [his] transcript . . . documenting that [he has]
             graduated”) (internal quotation marks omitted ).

            Elmore v. Bellarmine Univ., No. 3:18CV-00053-JHM, 2018 WL 1542140, at *7
             (W.D. Ky. Mar. 29, 2018) (plaintiff faced irreparable harm because he was placed
             on “probationary status” with school and “probation would damage [his] academic
             and professional reputations and may affect his ability to enroll at other institutions
             of higher education or medical school and to pursue a career,” since he “would have
             to disclose his probationary status in both undergraduate transfer and medical
             school applications”).

            Doe v. Pennsylvania State Univ., 276 F. Supp. 3d 300, 313 (M.D. Pa. 2017)
             (plaintiff faced irreparable harm due to “his immediate suspension from the rapidly
             approaching Fall 2017 semester” and, even if plaintiff were able to successfully
             enroll in medical school following his suspension, the “gap” on his academic
             resume caused by the suspension “would constitute irreparable harm as he would
             forever be forced to explain his lengthy tenure within this program and, ultimately,
             his delayed entry into the professional workforce”).

            Nokes v. Miami Univ., No. 1:17-CV-482, 2017 WL 3674910, at *13 (S.D. Ohio
             Aug. 25, 2017) (while acknowledging “a split in authority,” concluding that
             “suspension and harm to an individual’s reputation [may] constitute irreparable
             harm as a matter of law,” and that plaintiff faced irreparable harm because his
             suspension harmed his job opportunities and imposed “other complications that will
             prevent him from applying for competitive internships necessary to advance due to
             his lack of enrollment”).

            Ritter v. State of Oklahoma, No. CIV-16-0438-HE, 2016 WL 2659620, at *3 (W.D.
             Okla. May 6, 2016) (plaintiff faced irreparable harm because “[t]he loss of
             educational and career opportunities he will encounter if he is not reinstated and
             allowed to graduate is not readily compensable in money damages”).

            Doe v. Middlebury Coll., No. 1:15-CV-192-JGM, 2015 WL 5488109, at *3 (D. Vt.
             Sept. 16, 2015) (plaintiff faced irreparable harm due, in part, to loss of job offer
             that was contingent upon graduation and for which plaintiff completed an internship
             and, further in part, because he “would have to explain, for the remainder of his
             professional life, why his education either ceased prior to completion or contains a
             gap”).

            King v. DePauw Univ., No. 2:14-CV-70-WTL-DKL, 2014 WL 4197507, at *13
             (S.D. Ind. Aug. 22, 2014) (plaintiff faced irreparable harm because, if he “is not
             permitted to complete this upcoming semester at DePauw . . . he will forever have
             either a gap or a senior-year transfer on his record,” and it would be “inevitable that


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                  he would be asked to explain either situation by future employers or graduate school
                  admissions committees, which would require him to reveal that he was found guilty
                  of sexual misconduct by DePauw,” and money damages could never erase
                  associated “stigma”).8

          To be sure, these are factually specific and politically divisive cases and, as a result, there

  are district court decisions coming down on both sides of the issue. The fact that some decisions

  come down without a finding of irreparable harm does not mean that should be the result here,

  especially when such cases are distinguishable. In, Doe v. Texas A&M University, the court was

  presented with “speculative” assertions of harm to education and employment prospects. No. CV

  H-20-4332, 2021 WL 257059, at *7 (S.D. Tex. Jan. 26, 2021). The court found that “educational

  delay” was not irreparable. Id. at *8. The court was not asked to decide—and did not purport to

  decide—whether particularized claims of employment loss and reputational harm, such as from

  explaining a gap on one’s transcript, would suffice. The court in Montague v. Yale University gave

  particularly short shrift to the irreparable harm issue—and quite possibly for good reason, as the

  plaintiff had “waited over four months since the initial filing of his suit” to file for a preliminary

  injunction. No. 3:16-CV-00885(AVC), 2017 WL 4942772, at *4 (D. Conn. Mar. 8, 2017). The




  8
    Numerous other examples, too long to fully list, exist. See, e.g., Doe v. Texas A&M University-Kingsville,
  No. 2:21-cv-00257 (S.D. Tex. Nov. 5, 2021), ECF No. 18 (“Defendant suggested that monetary damages
  would be sufficient, but could not articulate how they could compensate for the lost semester, much less
  the complete loss of an opportunity for education and the reputational stigma of the sexual assault
  finding.”); Doe v. Rensselaer Polytechnic Inst., 2020 U.S. Dist. LEXIS 191676 (N.D.N.Y. October 16,
  2020); Doe v. Univ. of S. Miss., No. 2:18-cv-00153 (S.D. Miss. Sept. 26, 2018), ECF No. 35; Doe v. Univ.
  of Mich., 325 F. Supp. 3d 821 (E.D. Mich. 2018), vacated (on other grounds) sub nom. Doe v. Bd. of Regents
  of Univ. of Mich., 2019 WL 3501814 (6th Cir. Apr. 10, 2019); Roe v. Adams-Gaston, No. 2:17-cv-00945
  (S.D. Ohio Apr. 17, 2018) (order granting preliminary injunction), ECF No. 46; Richmond v. Youngstown
  State Univ., 2017 WL 6502833 (N.D. Ohio Sept. 14, 2017); Culiver v. United States, No. 2:17-cv-03514
  (S.D.N.Y. June 15, 2017) (order), ECF No. 14; Doe v. Univ. of Notre Dame, 2017 WL 1836939 (N.D. Ind.
  May 8, 2017), vacated at parties’ request, 2017 WL 7661416 (N.D. Ind. Dec. 27, 2017); Doe v. Weill
  Cornell Med. Coll. of Cornell Univ., 2016 WL 5369613 (S.D.N.Y June 8, 2016); Doe v. Pa. State Univ.,
  No. 4:15-cv-02072 (M.D. Pa. Oct. 28, 2015) ECF No. 12, vacated as moot, No. 4:15-cv-02072 (M.D. Pa.
  Apr. 4, 2016), ECF No. 49; Doe v. George Washington Univ., No. 1:11-cv-00696-RLW (D.D.C. Apr. 8,
  2011) (order granting temporary restraining order), ECF No. 8.


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  court’s conclusory statements about an educational gap being measurable in money are

  unpersuasive, and many courts have disagreed.

          It is not the time between graduation and employment that is the unquantifiable harm.

  Rather, it is the difficult explanation that the gap will require each time it is viewed by a prospective

  employer. In fact, the same district court that decided Montague decided, three years later, that

  such a gap does constitute irreparable harm: “For a college student poised to graduate in a few

  months, it is highly likely that a two-year suspension and a sanction for sexual assault would indeed

  forever change the trajectory of his education and career. If he is not permitted to enroll in the

  Spring 2020 semester, he would need to explain a gap on his résumé in future applications to

  schools or jobs. He would also need to explain the suspension notation on his UCONN transcript,

  and a truthful explanation would seriously hinder his prospects.” Doe v. Univ. of Connecticut, No.

  3:20CV92 (MPS), 2020 WL 406356, at *2 (D. Conn. Jan. 23, 2020). Such harm cannot be

  measured or compensated for by money alone.

          David clearly faces irreparable harm if not allowed to continue his academic and athletic

  pursuits at Brown. His supporting affidavit, submitted herewith under seal, demonstrates that he

  will lose a lose a specific summer job, for which he worked hard to obtain, which is essentially a

  summer-long interview for post-graduate work with a prestigious employer. Pl’s Aff. ¶¶ 10–18.

  If he is unable to complete his Spring 2022 courses and cannot provide his employer with proof of

  his successful completion of the semester, it is nearly certain that he will lose that job. Pl’s Aff.

  ¶ 18. Securing an equivalent replacement job for after graduation in that field will be nearly

  impossible. Pl’s Aff. ¶¶ 15, 17, 19. Explaining his suspension and the resulting “gap” on his




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  academic transcript will forever handicap his ability to obtain employment with desired

  employers.9 Pl’s Aff. ¶ 19.

            Moreover, David refers the Court to additional forms of irreparable harm that he will suffer,

  as articulated in his affidavit submitted herewith under seal. See Pl’s Aff. ¶¶ 31–33. The harm will

  be become permanent, even if months later he is determined to be not responsible. This Court can

  stop that irreparable harm from occurring.

  III.      CONCLUSION

            For the reasons set forth herein, David Smith respectfully requests that this Court restrain

  and enjoin Brown from denying him his contractual rights, from suspending him pending

  resolution of Jane Roe’s complaint, denying him class attendance and participation, and denying

  him the ability to continue practicing, training, and competing in varsity athletics until such time

  as he is formally found responsible for the alleged conduct.

      Dated: January 21, 2022                              Plaintiff, David Smith,
                                                           by and through his attorneys,

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      The Court need only imagine how it would react upon seeking a law clerk candidates transcript showing
  a semester long-absence from school. Any truthful explanation of that absence would likely end that
  potential clerk’s candidacy.


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                                  CERTIFICATE OF SERVICE

         I, Maria F. Deaton, certify that on January 21, 2022, this document was electronically filed

  through the Court’s CM/ECF system and is available for viewing and downloading to all registered

  counsel of record.


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